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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

 KAREN S. ROWLAND, on behalf of )
 herself and others similarly situated, )
                                        )
                Plaintiffs,             )
                                        )
         v.
                                        )               Civil Action No. 3:23-cv-258
 TRANSWORLD SYSTEMS, INC.,              )               Hon. M. Hannah Lauck
                                        )               U.S. District Judge
 MRS BPO, L.L.C.,                       )
                                        )
 CONVERGENT OUTSOURCING, INC.,          )
 NATIONAL COLLEGIATE STUDENT )
 LOAN TRUST 2006-4                      )
                                        )
 NATIONAL COLLEGIATE STUDENT )
 LOAN TRUST 2007-4, and                 )
                                        )
 U.S. BANK NATIONAL ASSOCIATION, )
                                        )
                Defendants.
                                        )

                     U.S. BANK NATIONAL ASSOCIATION’S
             MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT


       Defendant U.S. Bank National Association (“U.S. Bank”), by counsel and pursuant to

Federal Rule of Civil Procedure 12(b)(6), respectfully moves this Court to dismiss Plaintiff’s

Amended Complaint [Dkt. No. 10] with prejudice. The reasons for this Motion are set forth in the

memorandum of law contemporaneously filed herewith.

       WHEREFORE, U.S. Bank respectfully requests that the Court enter an order: (1) granting

U.S. Bank’s Motion to Dismiss; (2) dismissing Plaintiff’s claims with prejudice for failure to state

a claim for relief under Fed. R. Civ. P. 12(b)(6); and (3) granting such further relief as the Court

deems appropriate.
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Dated: September 8, 2023         Respectfully submitted,

                                 /s/ Brian C. Rabbitt

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                               CERTIFICATE OF SERVICE

       I certify that on September 8, 2023, I filed the foregoing document with the Clerk of the

United States District Court using the CM/ECF system, which will send notification electronically

to all counsel of record.



                                                    /s/ Brian C. Rabbitt

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